             Case 1:03-cr-05027-REC Document 74 Filed 08/08/06 Page 1 of 2


P R O B 35          ORDER TERMINATING SUPERVISED RELEASE
                          PRIOR TO EXPIRATION DATE


                          UNITED STATES DISTRICT COURT
                                    FOR THE
                         EASTERN DISTRICT OF CALIFORNIA

UNITED STATES OF AMERICA                         )
                                                 )
                           vs.                   )        Docket Number: 1:03CR05027-02 OWW
                                                 )
Stephanie Golden                                 )
                                                 )


On May 23, 2005, the above-named was placed on Supervised Release for a period of 3
years. Ms. Golden has complied with the rules and regulations of supervision. In addition,
she paid her restitution in full on June 10, 2005. It is accordingly recommended that she be
discharged from supervision.

                                   Respectfully submitted,

                                     /s/ Jose T. Pulido

                                    JOSE T. PULIDO
                             United States Probation Officer

Dated:        July 17, 2006
              Fresno, California


REVIEWED BY:          /s/ Bruce Vasquez
                    BRUCE VASQUEZ
                    Supervising United States Probation Officer




                                                                                                          R ev. 05/2006
                                                               E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
            Case 1:03-cr-05027-REC Document 74 Filed 08/08/06 Page 2 of 2


Re:     Stephanie Golden
        Docket Number: 1:03CR05027-02 OWW
        ORDER TERMINATING SUPERVISE RELEASE
        PRIOR TO EXPIRATION DATE




                                  ORDER OF COURT

It is ordered that the supervisee be discharged from supervised release, and that the
proceedings in the case be terminated.

       08/07/2006                       /s/ OLIVER W. WANGER
Date                                            Oliver W. Wanger
                                                Senior United States District Judge

JTP

Attachment: Recommendation
cc:   United States Attorney's Office
      FLU Unit, AUSA's Office
      Fiscal Clerk, Clerk's Office




                                                                                                       R ev. 05/2006
                                                            E A R LY T E R MIN A T IO N ~ O R D E R (P R O B 35).M R G
